                    UNITED STATES BANKRUPTCY COURT
                     EASTERN DISTRICT OF MICHIGAN
                      SOUTHERN DIVISION - DETROIT

IN THE MATTER OF:
 Offshore Spars Co., et al.1                  Case No. 23-44657
                                              Judge Thomas J. Tucker
                       Debtors.               Chapter 11
                                              Jointly Administered

          1ST AMENDED COMBINED PLAN OF LIQUIDATION OF
        OFFSHORE SPARS CO. AND REORGANIZATION OF ERIC R.
                            GRACZYK

                                                 PREPARED BY:

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      The Debtors in these jointly administered cases are Offshore Spars Co. (Case
No. 23-44657) and Eric R. Graczyk (Case No. 23-44658).


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                                  INTRODUCTION

       The Debtors propose this Plan for the resolution of outstanding claims against
and interest in the Debtors pursuant to the Bankruptcy Code. Capitalized terms used
herein and not otherwise defined shall have meanings ascribed to such terms in
Article 1.2 hereof. The Debtors are the proponents of the Plan under Bankruptcy
Code sections 1189(a) and 1129.

                              ARTICLE I
                DEFINITIONS, RULES OF INTERPRETATION
                      AND COMPUTATION OF TIME

       1.1 Scope of Definitions; Rules of Construction: For the purposes of the
Plan, except as expressly provided or unless the context otherwise requires, all
capitalized terms not otherwise defined shall have the meanings ascribed to them in
this Article I of the Plan. Any term used in the Plan that is not defined in this Article
I of the Plan, but is defined in the Bankruptcy Code or the Bankruptcy Rules (as
defined below) shall have the meaning ascribed to such terms in the Bankruptcy
Code or the Bankruptcy Rules as the case shall be. Whenever the context requires,
such terms shall include the plural as well as the singular number, the masculine
gender shall include the feminine and the feminine gender shall include masculine.
For purposes of the Plan, the following terms shall have the meaning set forth below,
unless the context requires otherwise.

      1.2    Definitions:

             1.2.1 “Administrative Claim” means Allowed Claims for costs and
expenses of administration of this Chapter 11 case allowed under §§ 503(b) and
507(a)(2) of the Bankruptcy Code.

             1.2.2 “Administrative Creditor” means a holder of an Administrative
Claim.

             1.2.3 “Allowed Claim” or “Allowed Interest” means any Claim for
which a proof of claim has been filed prior to the Bar Date or that is scheduled and
not listed as disputed, contingent, or unliquidated, and to which no objection has
been timely filed; or any claim as to which an objection has been resolved by a Final
Order of the Court establishing the priority and amount of such claim.

             1.2.4 “Article” refers to a specific article of this Plan.


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               1.2.5 “Avoidance Actions” means Causes of Action of Graczyk, the
Estate of the Reorganized Debtor arising under Chapter 5 and any related sections
of the Bankruptcy Code, including without limitation, §§ 502, 510, 541, 544, 545,
547, 548, 549, 550 and 553 of the Bankruptcy Code, or under related state or federal
statutes and common law, including fraudulent transfer laws, whether or not
litigation is commenced to prosecute such Cause of Action.

              1.2.6 “Ballot” means the official bankruptcy form no. 314 adopted for
these Cases or a document prepared to substantially conform to same which was
distributed to all Creditors and parties-in-interest in connection with the solicitation
of votes for or against the Plan.

            1.2.7 “Bankruptcy Code” or “Code” means the Bankruptcy Reform
Act of 1978, as amended (11 U.S.C. §§101, et seq.).

            1.2.8 “Bankruptcy Court” or “Court” means the United States
Bankruptcy Court for the Eastern District of Michigan, Southern Division, and any
court having jurisdiction to hear appeals therefrom.

             1.2.9 “Bankruptcy Rules” or “Rules” means the Federal Rules of
Bankruptcy Procedure, as promulgated by the Supreme Court that became effective
on August 1, 1991, and any amendments thereto. To the extent applicable,
Bankruptcy Rules also refers to the Local Rules of the U.S. District Court for the
Eastern District of Michigan, as amended and the Local Bankruptcy Rules for the
Eastern District of Michigan, as amended.

              1.2.10 “Bar Date” means the date established by the Bankruptcy Court
for the filing of any Claims.

            1.2.11 “Business Day” means any day, other than a Saturday, Sunday
or Legal Holiday, as that term is defined in Bankruptcy Rule 9006(a).

             1.2.12 “Buyer” means Offshore Acquisition, LLC, a Michigan limited
liability company.

             1.2.13 “Cases” means the Debtors’ bankruptcy cases currently pending
before the Bankruptcy Court entitled In re Offshore Spars Co., Case No. 23-44657
and In re Eric R. Graczyk, Case No. 23-44658, and which are jointly administered.



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             1.2.14 “Causes of Action” means all Claims, rights and causes of action
belonging to the Debtors and upon confirmation, the Liquidating Debtor and
Reorganized Debtor, including without limitation, Avoidance Actions and any
related Claims and actions arising under such sections of the Bankruptcy Code by
operation of law or otherwise; any Claims or Causes of Action against any third
parties and any and all proceeds of the foregoing.

             1.2.15 “Claim” means any right to payment, whether or not such right
is reduced to judgment, liquidated, unliquidated, fixed, contingent, matured,
unmatured, disputed, undisputed, legal, equitable, secured or unsecured, or any right
to an equitable remedy for breach of performance if such breach gives rise to a right
to payment, whether or not such right to an equitable remedy is reduced to judgment,
fixed, contingent, matured, unmatured, disputed, undisputed, secured or unsecured.

            1.2.16 “Claimant” means any individual or entity which has a valid
Claim as defined herein.

             1.2.17 “Class” means a class of holders of Claims or Interests described
in Article IV of this Plan.

             1.2.18 “Confirmation Date” means the date upon which the Bankruptcy
Court enters the Confirmation Order.

           1.2.19 “Confirmation Hearing” means the hearing conducted by the
Bankruptcy Court to consider the confirmation of the Plan filed by the Debtors.

            1.2.20 “Confirmation Order” means the Order entered confirming this
Plan pursuant to §1129 of the Code.

              1.2.21 “Contested Claim” or “Contested Interest” means any Claim or
Interest as to which the Debtors or any other party in interest has interposed an
objection or commenced an adversary proceeding in accordance with the
Bankruptcy Code, Bankruptcy Rules and this Plan, which objection has not been
determined by a Final Order.

             1.2.22 “Creditor” means any holder of a Claim against the Debtors.

             1.2.23 “Debtors” mean, collectively, Eric R. Graczyk and Offshore.

             1.2.24 “Debtors-In-Possession” means the Debtors in their capacity as


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debtors-in-possession as term as defined in the Bankruptcy Code in the Cases.

              1.2.25 “Disallowed” means (a) a Claim or Interest or any portion
thereof, that has been disallowed by a Final Order or a settlement, (b) a Claim or
Interest or any portion thereof that is listed in the Debtor’s Schedules at zero or as
contingent, disputed, or unliquidated and as to which a Bar Date has been established
but no Proof of Claim has been timely filed or deemed timely filed with the
Bankruptcy Court pursuant to either the Bankruptcy Code or any Final Order of the
Bankruptcy Court or otherwise deemed timely filed under applicable law, or (c) a
Claim or Interest or any portion thereof that is not listed in the Debtor’s Schedules
and as to which a Bar Date has been established but no Proof of Claim has been
timely filed or deemed timely filed with the Bankruptcy Court pursuant to either the
Bankruptcy Code or any Final Order of the Bankruptcy Court or otherwise deemed
timely filed under applicable law.

              1.2.26 “Distribution Date” means the date that is fourteen (14) days
after the Effective Date.

           1.2.27 “Effective Date” means the date that is one (1) day after the
Confirmation Order becomes a Final Order.

             1.2.28 “Estates” means the bankruptcy estates of the Debtors created
pursuant to § 541 of the Bankruptcy Code.

              1.2.29 “Final Order” means an Order of the Bankruptcy Court as to
which (i) the time for appeal has expired and no appeal has been timely taken; or (ii)
any timely appeal has been finally determined or dismissed; or (iii) an appeal has
been timely taken but such order has not been stayed within fourteen (14) days after
the filing of such appeal.

            1.2.30 “Governmental Unit” has the meaning ascribed to it in § 101(27)
of the Bankruptcy Code.

              1.2.31 “Holder” means a Person holding a Claim, Interest, or Lien, as
applicable.

              1.2.32 “Impaired” means a Claim treated under this Plan, unless the
Plan:

              A.      leaves unaltered the legal, equitable, and contractual rights to


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which such Claim or Interest entitles the holder of such Claim or Interest; or
notwithstanding any contractual provision or applicable law that entitles the holder
of such Claim or Interest to demand or receive accelerated payment of such Claim
or Interest after the occurrence of a default;

              B.     cures any such default (other than defaults relating to (i) any
penalty interest rate or provision arising from a non-monetary default by the Debtors;
(ii) the solvency or financial condition of the Debtors; or (iii) the commencement of
this Case) that occurred before or after the commencement of the Case;

             C.    reinstates the maturity of such Claim or Interest as such maturity
existed before such default;

             D.     compensates the holder of such Claim or Interest for any
damages incurred as a result of any reasonable reliance on such contractual provision
or such applicable law; and

            E.    does not otherwise alter the legal, equitable or contractual rights
to which such Claim or Interest entitles its holder.

              1.2.33 “Insider” means a current or former director, shareholder,
officer, partner, person in control, relative of a director, officer, partner or person in
control of the Debtors or a corporation or entity in which an Insider of the Debtors
is an Insider.

             1.2.34 “Interest” means an equity interest in the Debtors as defined in
§ 101(16) of the Code.

              1.2.35 “Interest Rate” means (a) with respect to Claims entitled to
interest under § 506 of the Bankruptcy Code and this Plan and having an applicable
contractual rate of interest evidenced by a writing signed by an executive officer of
the Debtors the lowest rate of interest provided in such contract, without regard to
any default by Debtors, (b) with respect to all other Claims entitled to interest under
the Bankruptcy Code and this Plan, the applicable statutory rate for such Claims or,
if no statutory rate exists, 1.0% per year, or (c) with respect to (a) or (b) such other
interest rate as may be determined by a Final Order of the Bankruptcy Court.

             1.2.36 “Lien” means any security interest, lien, tax lien, mortgage,
encumbrance, common law or statutory lien, charge against, or an interest in
property to secure payment of a debt or performance of an obligation. “Lien” shall


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be defined as, and interpreted in, as broad a manner as possible.

             1.2.37 “Offshore” means Offshore Spars Co.

            1.2.38 “Offshore Assets” means those assets being sold by Offshore to
Buyer pursuant to the Sale Order.

              1.2.39 “Petition Date” means May 23, 2023, the date that the Debtors
filed their Chapter 11 voluntary petitions, which commenced the Cases.

           1.2.40 “Person” has the meaning given to it under § 101(41) of the
Bankruptcy Code.

            1.2.41 “Plan” means this Plan, as it may be altered, amended or
modified from time to time.

           1.2.42 “Priority Claim” means a Claim under or entitled to priority
under any of the following sections of the Code: §§ 507(a)(4), 507(a)(5), or
507(a)(8).

             1.2.43 “Pro Rata” means, at any time, the proportion that the face
amount of a Claim in a particular Class bears to the aggregate face amount of all
Claims (including disputed or Contested Claims) in such Class, unless the Plan
expressly provides otherwise.

           1.2.44 “Professional Fees” means the fees and reimbursement for
disbursements owed to attorneys, accountants, or other professionals whose
employment has been approved by the Bankruptcy Court.

             1.2.45 “Proponents” means the Debtors, the proponents of this Plan.

            1.2.46 “Sale Motion” means the Motion for Entry of an Order (I)
Approving the Sale of Assets to Offshore Acquisition, LLC Free and Clear of Liens,
Claims and Encumbrances, (II) Approving the Asset Purchase Agreement, (III)
Terminating Asset Purchase Agreement with Rigpro, LLC (IV), Authorizing
Assumption and Assignment of Executory Contracts and Unexpired Leases in
Connection with the Sale; and (V) Granting Related Relief filed at Docket No. 128.

            1.2.47 “Sale Order” means a Final Order authorizing the sale
contemplated in the Sale Motion.


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             1.2.48 “Sale Proceeds” means the proceeds received by Offshore
pursuant to the Sale Order.

            1.2.49 “Section” refers to a specific section or subsection of this Plan,
unless otherwise set forth herein.

              1.2.50 “Secured Claim” means a Claim secured by a Lien on property
in which the estate has an interest but only to the extent of the value of the Creditor's
interest in the estate's interest in the property as of the Petition Date.

             1.2.51 “Unimpaired” or “Unimpaired Claim” means a Claim treated
under this Plan that leaves unaltered the legal, equitable, and contractual rights of
such Claim and is not Impaired.

             1.2.52 “Unsecured Claim” means a Claim that is not a Secured Claim
and is not an Administrative Claim or a Priority Claim.

      1.3    Rules of Interpretation: For purposes of the Plan:

             1.3.1 Any reference in the Plan to a contract, instrument, release,
indenture, or other agreement or document being in a particular form or on particular
terms and conditions means that such document shall be substantially on such terms
and conditions.

             1.3.2 Any reference in the Plan to an existing document or exhibit filed
or to be filed means such document or exhibit as it may have been or may be
amended, modified or supplemented.

              1.3.3 The words “herein” and “hereto” refer to the Plan in its entirety
rather than to a particular portion of the Plan unless expressly stated otherwise.

              1.3.4 Captions and headings to Articles and Sections are inserted for
convenience of reference only and are not intended to be a part of or effect the
interpretation of the Plan.

            1.3.5 The rules of construction set forth in § 102 of the Bankruptcy
Code and in the Bankruptcy Rules shall apply.

      1.4    Computation of Time: In computing any period of time prescribed or


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allowed by the Plan, the provisions of Bankruptcy Rule 9006(a) shall govern. If the
Effective Date or any other date on which a transaction or distribution may occur
under the Plan occurs on a day that is not a Business Day, the transactions or
distributions contemplated by the Plan to occur on such day shall instead occur on
the next business day following such non-business day.

       1.5 Governing Law: Unless a rule of law or procedure is supplied by
federal law (including the Bankruptcy Code and Bankruptcy Rules), the laws of the
State of Michigan shall govern the construction and implementation of the Plan and
any agreements, documents and instruments executed in connection with the Plan.

        1.6 Exhibits: All exhibits are incorporated into and are a part of this Plan
as if set forth in full herein, and, to the extent not annexed hereto, such exhibits shall
be filed with the Bankruptcy Court. Upon its filing, the Exhibit may be inspected in
the office of the Clerk of the Bankruptcy Court or its designee during normal
business hours or at the Bankruptcy Court website for a fee at
http://ecf.mieb.uscourts.gov. The exhibits may also be requested, in writing, from
the Debtor’s counsel. All exhibits may be revised prior to the Confirmation Date by
the filing of the revised exhibits with the Bankruptcy Court, so long as the revised
exhibits are substantially in conformance with the terms of this Plan. The exhibits
are an integral part of the Plan, and entry of the Confirmation Order by the
Bankruptcy Court shall constitute an approval of the exhibits.

      1.7 Estimates of Claims: Unless expressly stated otherwise, nothing
herein shall be deemed an admission by the Debtors or to otherwise prejudice the
Debtors in any claim’s objection or Cause of Action. All estimates of Causes of
Action and claims amounts listed in this Plan are current estimates only. All claims
amounts and classifications remain subject to the Claims objection process as forth
herein.

                                  ARTICLE II
                              BRIEF BACKGROUND

       This section provides a brief overview and history of the Debtors’ business
operations and summarizes the events leading up to the filing of the Cases and
certain key events in the Cases. Creditors and other parties in interest may disagree
with statements contained in this Article; however, it is for informational purposes
only and shall not be deemed accurate or have preclusive effect in any future
proceeding.



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          2.1 History of the Debtors:

      Offshore was established in 1976 and its primary business is designing and
manufacturing carbon fiber and composite masts and booms for the global
superyacht market. Offshore has additional lines of business including replacement
and service of standing and running rigging for yachts, e-commerce, and carbon fiber
manufacturing for other industries, including the aerospace and automotive
industries.

       In January 2022, Offshore was acquired by Graczyk Holdings, LLC, a
Michigan limited liability company whose sole member is Mr. Eric Graczyk. Not
until after the purchase of Offshore did Mr. Graczyk discover numerous financial
improprieties, breaches of warranties, and general mismanagement that had befallen
the Debtor under previous ownership. Though Mr. Graczyk spent considerable time
and effort prior the Petition Date attempting to remedy such matters, a reorganization
of the business through a Subchapter V bankruptcy became necessary.

      Mr. Graczyk is an individual and is the member of the Debtor’s sole member.
He serves as the President of Offshore.

       During the pendency of the Cases, Offshore received an offer from the Buyer
to purchase the Offshore Assets for two million four hundred thirty thousand
($2,430,000.00) dollars. Offshore then filed the Sale Motion in which Offshore
sought approval of the asset purchase agreement and the authority to sell the
Offshore Assets. The Sale Motion remains pending as of the date of the filing of
this Plan. It is anticipated that upon the closing of the Sale, Graczyk will execute an
Employment Agreement with Buyer and receive a salary of one hundred fifty
thousand ($150,000.00) dollars per annum to serve as President of Buyer for no less
than three (3) years.

          2.2 Liquidation Analysis:

      The Debtors’ Liquidation Analyses are attached to this Plan as Exhibits A1
and A2. The Debtors believe that under the Plan, creditors will receive not less than
they would receive if the Debtors were liquidated under Chapter 7 of the Bankruptcy
Code.

      All values contained in the Liquidation Analyses are based on good faith
estimates using information currently available to the Debtors. The estimates
contained therein have not been subject to audit and the Debtors’ assets have not


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been formally appraised for purposes of the Liquidation Analyses. The estimates
shall in no way be construed to constitute binding guaranties, representations, or
warranties and are subject to revision at any time.

      The values for the Debtors’ assets are based upon reasonable estimates of the
values as carried on the Debtors’ books and records. In establishing the values, the
Debtors have considered the size, age, physical condition, and location of the assets.

      It is also noteworthy that upon a liquidation of the Debtors’ assets, there may
be significant penalties and adjustments. The amounts contained in the Liquidation
Analysis are conservative estimates, but the adjustments may be much higher

         2.3 Post-Confirmation Financial Projections:

      Graczyk has attached as Exhibit B a summary of post-confirmation financial
projections for the time 1st Quarter of 2024 through 4th Quarter 2026.

      Given that Offshore is liquidating through this Plan and the Sale Motion, no
post-confirmation financial projections are provided for Offshore with this Plan.

         2.4 Ballot:

      The ballot to accept or reject this Plan is attached hereto as Exhibit C.
Pursuant to the Court’s Order Deeming the Debtors’ Plan Withdrawn, Granting
Leave and Setting a Deadline for the Debtors to File an Amended Plan, Establishing
Deadlines and Procedures for Debtors’ Amended Plan, and Cancelling November
8, 2023 Confirmation Hearing, the deadline to return ballots is December 18, 2023.

                            ARTICLE III
                ADMINISTRATIVE AND PRIORITY CLAIMS

      Administrative Creditors and Priority Creditors shall be paid on account of
their respective Administrative and Priority Claims in accordance with the
provisions set forth below:

         3.1 GROUP I:

            3.1.1 The claims of Group I shall consist of all Administrative Claims,
including any taxes that qualify as Administrative Claims. The Allowed Claims of
this Group shall be paid the full amount of their Claims on such date as may be


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mutually agreed upon between the Debtors and the particular claimant, or, if no such
date is agreed upon, the later of (i) the Effective Date, (ii) the date by which payment
would be due in the ordinary course of business between the Debtors and such
Administrative Creditor, or (iii) the date on which the Bankruptcy Court enters its
order, if necessary, approving the Debtors’ payment of such expenses. All
Professional Fees that are the subject of pending fee applications before the
Bankruptcy Court, or that have already been allowed by the Bankruptcy Court but
which remain unpaid as of the Effective Date, unless otherwise agreed by such
professionals, shall be paid in full, in cash, (i) on the Sale Closing Date, or (ii) within
seven (7) days after a Final Order of the Bankruptcy Court has been entered
authorizing their payment, whichever is later.

             3.1.2 The Bar Date for asserting any Administrative Claim is fourteen
(14) days after the Confirmation Date. Any Administrative Claim first asserted after
the date that is fourteen (14) days after the Confirmation Date shall be deemed
Disallowed and shall not be entitled any payment under this Plan. The objection
procedures in Article IX of this Plan are applicable to any filed Administrative
Claim.

          3.2 GROUP II:

              3.2.1 The Claims of Group II shall consist of all Allowed Claims, if
any, that are entitled to Priority under § 507(a)(8) of the Code.

              3.2.2 Any payments made to Allowed Claims of Group II shall first be
applied to the trust fund portion of taxes, including any trust fund recovery penalties.

            3.2.3 Creditors with claims that are entitled to Priority under §
507(a)(8) will be paid in full on the Distribution Date.

             3.2.4 The Debtors shall have the right to challenge any Priority Claim
through the claims objection process set forth in Article X, which challenge may
include but is not limited to a challenge to any penalty portion of such Claim, the
amount and the value of the property which forms the basis for any assessment of
taxes and the computation of the tax. The right to challenge these claims shall
include, without limitation, an objection to the assessment of the Debtors’ personal
property that may or may not have been made by the respective taxing authority.

             3.2.5 To the extent that an objection is filed, the Debtors shall not be
obligated to pay any Allowed Priority Claim until a determination of the amount of


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the Priority Claim has been made by the Bankruptcy Court. Payments to these
Priority Claims that are ultimately allowed shall commence on the first business day
of the calendar quarter following the Court’s final determination of the allowability
of all of the Claims in this Class.

             3.2.6 Until such time as the Priority Claim has been fully and
indefeasibly paid, the Priority Claimant shall retain any and all Liens that it may
have which shall remain in full force and effect, with the same Priority and to the
same extent that existed on the Petition Date. Upon payment in full of the Priority
Claim, the Priority Claimant shall release and extinguish all Liens and execute any
and all documents reasonably requested by the Debtors to memorialize same.

              3.2.7 Provided that the Debtors are making all payments required
under the Plan, any taxing authority shall not pursue any further collection efforts,
including the issuance of levies, seizure of assets, imposition of trust fund recovery
penalties and assessments and filing of Liens against any party who may also be
liable to pay or satisfy Tax Claims. If Claimants of this Group seize assets or collect
funds from any non-debtor party, the Debtors may reduce their payments under the
Plan, in their discretion, by the amount of funds seized.

                              ARTICLE IV
                DESIGNATION AND TREATMENT OF CLASSES
                       OF CLAIMS AND INTERESTS

This Plan divides Claims and Interests into classes and treats them as follows:

      4.1 Class I: This class shall receive payments and treats the Allowed
Secured Claim of Pathward, N.A. (“Pathward”). Pathward shall possess an Allowed
Secured Claim in the amount of one million nine hundred fifty-three thousand one
hundred sixty-three & 84/100 ($1,953,163.84) dollars or such lesser amount as is
owed to Pathward as of the Confirmation Date and which is secured against certain
of the Offshore Assets to the extent as set forth in their security instruments and
UCC-1 financing statement filed with the State of Michigan Department of State
bearing filing numbers 20220118000629-3 and 20220901000634-7 (the “Pathward
Claim”). The Pathward Claim shall be paid in full on the Distribution Date.

          This Class is Impaired.

      4.2 Class II: This Class shall receive payments and treats the Allowed
Secured Claim of Ford Motor Credit Company, LLC (“Ford”). Ford shall retain its


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Allowed Secured Claim in the amount of $59,000.00 or such lesser amount as of the
Confirmation Date against the 2022 Ford Explorer (VIN 1FM5K8GC1NGC20904)
(the “Explorer”). Although a portion of Ford’s Claim may be unsecured, it will not
have an unsecured deficiency claim. No other creditor has a Secured Claim against
the 2022 Ford Explorer. Ford’s claim has continued to be paid prior to and since the
Petition Date, and the claim is current and not delinquent in any manner. Ford’s
Allowed Secured Claim shall be paid on or before the Distribution Date from the
Sale Proceeds at which time its claim shall be fully paid and any lien in the Explorer
discharged.

      This Class is Unimpaired.

       4.3 Class III: This Class shall receive payments and treats the Allowed
Secured Claim of United Wholesale Mortgage (“UWM”). UWM shall retain its
Allowed Secured Claim in the amount of $390,000.00 or such lesser amount as of
the Confirmation Date against the real property commonly known as 4170
Nearbrook Road, Bloomfield Hills, MI 48302. UWM’s claim has continued to be
paid prior to and since the Petition Date, and the claim is current and not delinquent
in any manner. Graczyk shall continue to pay, or cause to be paid, UWM throughout
the term of the Plan the monthly amounts due and owing when due and owing.

      This Class is Unimpaired.

      4.4 Class IV: This Class shall receive payments and treats the Allowed
Secured Claim of Flagstar Bank (“Flagstar”). Flagstar shall retain its Allowed
Secured Claim in the amount of $75,876.00 or such lesser amount as of the
Confirmation Date against the real property commonly known as 4170 Nearbrook
Road, Bloomfield Hills, MI 48302. Flagstar’s claim has continued to be paid prior
to and since the Petition Date, and the claim is current and not delinquent in any
manner. Graczyk shall continue to pay, or cause to be paid, Flagstar throughout the
term of the Plan the monthly amounts due and owing when due and owing.

      This Class is Unimpaired.

      4.5 Class V: This Class shall receive payments and treats the Claim of
Chesterfield 5, LLC (“Chesterfield”). The Liquidating Debtor shall pay cure costs
of twenty-seven thousand five hundred & 00/100 ($27,500.00) dollars to
Chesterfield pursuant to the lease of the real property located at 50200 E. Russell
Schmidt Blvd., Chesterfield, MI 48051 (the “Lease”) as well as the post-petition
property taxes totaling twenty-seven thousand twenty-seven & 63/100 ($27,027.63)


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dollars on the Distribution Date. The Lease is otherwise being treated pursuant to
the Sale Motion.

      This Class is Impaired.

       4.6 Class VI: This Class shall not receive payments and treats the Claim of
Cimolai USA, LLC (“Cimolai”). Cimolai asserts that (a) it is the holder of a secured
claim; (b) its claim is subject to the Michigan Builder’s Trust Fund Act, MCL §
570.151; and (c) it is owed $76,088.00. Cimolai will not receive payments under
this Class and, instead, will be paid as the Holder of a Class VII holder of an Allowed
Unsecured Claim in the amount of $76,088.00.

      This Class is Impaired.

       4.7 Class VII: This Class consists of the Holders of Allowed Unsecured
Claims against Offshore. Neither pre-confirmation interest nor post-confirmation
interest on Allowed Class VII Claims will be paid. A Creditor in this Class shall
receive a pro rata distribution incident to its Allowed Unsecured Claim based on a
single payment on the Distribution Date of its pro rata share of no less than forty-
five thousand ($45,000.00) dollars from the Sale Proceeds after all Allowed
Administrative Claims, Priority Claims, and Classes I, II, and V are paid in full.

      This Class is Impaired.

       4.8 Class VIII: This Class consists of the Holders of Allowed Unsecured
Claims against Graczyk. Neither pre-confirmation interest nor post-confirmation
interest on Allowed Class VIII Claims will be paid. A Creditor in this Class shall
receive a pro rata distribution incident to its Allowed Unsecured Claim based on two
(2) payments each year on a semi-annual basis of $2,500.00 per payment for three
(3) years, for a total of fifteen thousand ($15,000.00) dollars. The first payment shall
be due on or before January 31, 2024 and the second payment shall be due on or
before July 31, 2024. Such payments shall continue to be made on the same date
every January 31 and July 31 until the earlier occurs of (i) the respective Claim is
paid in full; or (ii) July 31, 2026.

      This Class is Impaired.

      4.9 Class IX: This Class shall consist of the Interests of the Debtors.
Holders of the Interests shall retain their interests in the Debtors, Liquidating Debtor,
and Reorganized Debtor in the same manner as percentage upon confirmation of the


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Plan.

        This Class is Unimpaired.

                              ARTICLE V
                    MEANS OF EXECUTION OF THE PLAN

       5.1      The Liquidating Debtor: On the Effective Date, all of Offshore’s
rights, titles, and interests in and to all of the Offshore Assets shall revest in the
Liquidating Debtor to be operated and distributed by the Liquidating Debtor
pursuant to the provisions of this Plan. All of the tangible Offshore Assets will be
held in the Stevenson & Bullock, P.L.C. IOLTA Account and will include, inter alia,
the Sale Proceeds, any receivables, and any cash equivalents not otherwise sold to
the Buyer pursuant to the Sale Order. The Liquidating Debtor shall have full
responsibility for maintaining and preserving all of the Assets and any other assets
or interests of Offshore and Liquidating Debtor until all disbursements are made in
accordance with the provisions of the Plan. Upon entry of the Confirmation Order,
Stevenson & Bullock, P.L.C. shall be authorized to make such distributions pursuant
to this Plan on behalf of the Liquidating Debtor.

       5.2 The Reorganized Debtor: On the Effective Date, all of Graczyk’s
rights, titles, and interests in and to all of his property shall revest in the Reorganized
Debtor free and clear of any claims or interests, including liens, except as expressly
provided in this Plan. Graczyk shall be discharged from his status as “debtor” and
his affairs and business shall be thereafter conducted by the Reorganized Debtor
without Court supervision, except as may be governed by this Plan. If Graczyk’s
bankruptcy case is converted to Chapter 7, all property vested in the Reorganized
Debtor will revest and become property of the Chapter 7 estate.

       5.3    Professional Fees of the Debtors, Liquidating Debtor, and
Reorganized Debtors: Any services performed or expenses incurred by any
professional on behalf of the Debtors, Liquidating Debtor, or Reorganized Debtor
with respect to these Cases after the Confirmation Date, shall not be subject to the
prior review and approval of the Bankruptcy Court and, notwithstanding any
provision of the Bankruptcy Code or Rules, including, without limitation, Fed. R.
Bankr. P. 2016, after the Confirmation Date, no professional shall be required to
disclose payments from the Debtors, Liquidating Debtor, or Reorganized Debtor to
the Bankruptcy Court or the United States Trustee. All fees and expenses arising
after the Confirmation Date shall be billed directly to the Liquidating Debtor or
Reorganized Debtor as the case may be.


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       5.4   Change of Address: In order to ensure that it receives its distribution,
each Creditor must advise the Liquidating Debtor and Reorganized Debtor of any
change in address. Absent any such notification, the Liquidating Debtor and/or
Reorganized Debtor will send payments to the address listed on the Matrices on file
with the Bankruptcy Court.

       5.5     Litigation: Unless expressly waived or settled in the Plan or
Confirmation Order, all Causes of Action are expressly reserved, whether or not
specifically listed in this Plan or the Debtors’ bankruptcy schedules filed with the
Court, as amended. Upon the Effective Date, all Causes of Action are expressly
vested in the Liquidating Debtor or Reorganized Debtor, as the case may be. No
preclusion doctrine, estoppel (judicial, equitable or otherwise) or laches shall apply
to any Causes of Action as a consequence of the Confirmation, the Effective Date or
consummation of the Plan.

                                ARTICLE VI
                          ACCEPTANCE OF THE PLAN

      6.1    Presumed Acceptance of the Plan: Classes II, III, IV, and IX are
conclusively presumed to have accepted the Plan pursuant to § 1126(f) of the
Bankruptcy Code.

      6.2     Presumed Rejection of the Plan: No Class is conclusively presumed
to have rejected the Plan pursuant to § 1126(g) of the Bankruptcy Code.

      6.3    Voting Classes: Classes I, V, VI, VII, and VIII are Impaired under the
Plan and are entitled to vote to accept or reject the Plan.

       6.4   Elimination of Vacant Classes: Any Class of Claims that does not
have a Holder of an Allowed Claim or a Claim temporarily Allowed by the
Bankruptcy Court as of the date of the Confirmation Hearing shall be deemed
eliminated from the Plan for purposes of voting to accept or reject the Plan and for
purposes of determining acceptance or rejection of the Plan by such Class pursuant
to § 1129(a)(8) of the Bankruptcy Code.

      6.5     Cramdown: The Debtors will request confirmation of the Plan, as it
may be modified from time to time, under § 1191 of the Bankruptcy Code. The
Debtors reserve the right to modify the Plan to the extent, if any, that confirmation
pursuant to § 1191 of the Bankruptcy Code requires modification of the Plan.


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                                 ARTICLE VII
                            EXECUTORY CONTRACTS

       7.1 Rejection of Executory Contracts: The occurrence of the Effective
Date shall constitute the rejection, pursuant to § 365(a) of the Bankruptcy Code, of
all executory contracts and unexpired leases that have not already been assumed or
rejected by the Debtors, that are the subject of a pending motion to assume or reject
as of the date the Confirmation Order is entered.

       7.2 Rejection Claims: Any Creditor who has a Claim as a result of such
rejection shall have seven (7) days after the Effective Date or the date by which such
rejection is effective pursuant to an order of the Court to file a Proof of Claim. In
the event that such Claim is not timely filed, the Claim shall be Disallowed in its
entirety. The filing of this Plan with the Court shall be sufficient notice informing
any potential Creditor of this requirement.

                                 ARTICLE VIII
                           MODIFICATION OF THE PLAN

       8.1    After confirmation, and before substantial consummation of the Plan,
the Debtors may, from time to time, propose amendments or modifications of this
Plan without leave of the Court. After confirmation and substantial consummation
of the Plan, the Liquidating Debtor and/or Reorganized Debtor may, with leave of
the Bankruptcy Court, and upon notice and opportunity for hearing to the affected
Creditor(s) only, remedy any defect or omission, reconcile any inconsistencies in the
Plan or in the Confirmation Order or otherwise modify the Plan.

      8.2     If the Bankruptcy Court determines that the modification affects all the
Creditors, or if the Debtors proposes a material modification affecting all Creditors,
then such modification will be governed by § 1127 of the Bankruptcy Code.

                                 ARTICLE IX
                           EFFECT OF CONFIRMATION

      9.1       Discharge of Claims:

             a.    If the Plan is confirmed under § 1191(a), on the Confirmation
Date of this Plan, the Reorganized Debtor will be discharged from any debt that
arose before confirmation of this Plan, subject to the occurrence of the Effective


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Date, to the extent specified in § 1141(d) of the Bankruptcy Code.

              b.     If the Plan is confirmed under § 1191(b), as soon as practicable
after completion by the Reorganized Debtor of all payments due under the Plan,
unless the court approves a written waiver of discharge executed by the Reorganized
Debtor after the order for relief under this chapter, the Court shall grant the
Reorganized Debtor a discharge of all debts provided in section 1141(d)(1)(A) of
the Code, and all other debts allowed under section 503 of the Code and provided
for in this Plan, except any debt— on which the last payment is due after the first 3
years of the Plan; or if applicable, of the kind specified in section 523(a) of the Code.

       9.2    Injunction: Except as otherwise provided in the Plan, from and after
the Effective Date, all persons who have held, hold, or may hold Claims against the
Debtors and their assets are permanently enjoined from taking any of the following
actions against the Debtors and their assets: (i) commencing or continuing, in any
manner or in any place, any action or other proceeding; (ii) enforcing, attaching,
collecting, or recovering in any manner any judgment, award, decree, or order; (iii)
creating, perfecting or enforcing any lien or encumbrance; (iv) asserting a setoff,
right of subrogation, or recoupment of any kind against any debt, liability, or
obligation due to the Debtors; and (v) commencing or continuing, in any manner or
in any place, any action that does not comply with or is inconsistent with the
provisions of the Plan; provided, however, that nothing contained herein precludes
such persons or entities from exercising their rights pursuant to and consistent with
the terms of this Plan and the Confirmation Order.

       9.3    Setoffs: Except as otherwise expressly provided for in the Plan, the
Liquidating Debtor and Reorganized Debtors pursuant to the Bankruptcy Code
(including § 553 of the Bankruptcy Code), applicable non-bankruptcy law, or as may
be agreed by the Holder of a Claim, may setoff against any Allowed Claim and the
distributions to be made pursuant to the Plan on account of such Allowed Claim
(before any distribution is made on account such Allowed Claim), any Claims,
rights, and Causes of Action of any nature that the Debtors, the Liquidating Debtor,
or the Reorganized Debtors, as applicable, may hold against the Holder of such
Allowed Claim (or against the predecessor-in-interest to Holder to the extent that the
Holder takes such Allowed Claim subject to setoffs and defenses that may be
asserted against the predecessor- in-interest), to the extent such Claims, rights, or
Causes of Action against such Holder have not been otherwise compromised or
settled on or prior to the Effective Date (whether pursuant to the Plan or otherwise);
provided, however, that neither the failure to effect such a setoff nor the allowance of
any Claim pursuant to the Plan shall constitute a waiver or release by the Liquidating


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Debtor or Reorganized Debtors of any Claims, rights, setoff rights and Causes of
Action that the Liquidating Debtor or Reorganized Debtors may possess against such
Holder. Neither the Liquidating Debtor nor the Reorganized Debtors shall be
required to make any distributions to the Holder of any Allowed Claim to the extent
that the Liquidating Debtor asserts setoff rights against such Holder until after entry
of a Final Order resolving such setoff rights. In no event shall any Holder of Claims
be entitled to setoff any Claim against any Claim, right, or Cause of Action of the
Debtors, Liquidating Debtor, or Reorganized Debtors, unless such Holder has filed
a motion with the Bankruptcy Court requesting the authority to perform such setoff
on or before the Confirmation Date, and notwithstanding any indication in any Proof
of Claim or otherwise that such Holder asserts, has, or intends to preserve any right
of setoff pursuant to § 553 of the Bankruptcy Code or otherwise.

                            ARTICLE X
                OBJECTIONS TO CLAIMS AND INTERESTS

      10.1 Parties in interest may, within thirty (30) days after the Effective Date,
object to the allowance of any Claims, or request the Bankruptcy Court to timely
reconsider the allowance of any Claim previously or hereafter filed.

      10.2 Parties in interest may object to any Lien as part of the Claims objection
process.

       10.3 Parties in interest may file an objection to any Proof of Claim filed in
accordance with Section 7.2 on or before the later of (i) thirty (30) days after the
filing of the Proof of Claim or (ii) the time set for the filing of objections in Section
(including any extensions). The objection will be resolved in accordance with Article
X.

                             ARTICLE XI
                UNITED STATES TRUSTEE REQUIREMENTS

      11.1 The Debtors will continue to remit to the Office of the United States
Trustee all appropriate post-confirmation quarterly reports for the relevant time
periods.

       11.2 After the Cases are closed, to the extent any monthly reports have not
been timely provided, the Cases may be re-opened by the Office of the United States
Trustee to file such motions or take such action as appropriate to be provided with
such reports.


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                                  ARTICLE XII
                           RETENTION OF JURISDICTION

       12.1 Notwithstanding confirmation of the Plan, the Bankruptcy Court shall
retain jurisdiction for the following purposes until the entry of a final decree closing
this case:

                A.      To determine all objections to the allowance of Claims;

            B.    To approve or disapprove any compromise by the Reorganized
Debtor of any Claim;

              C.   To determine all disputes arising under the Plan, including
satisfaction of payments under the Plan or any dispute over any action taken by the
Liquidating Debtor or Reorganized Debtor, and to enforce, interpret and administer
the terms and conditions of the Plan;

            D.   To determine any applications for allowance of compensation
and reimbursement of expenses as may be required for pre- confirmation services;

              E.    To determine any applications for rejection, assumption, or
assignment of executory contracts and the allowance of any claims resulting from
the rejection thereof or from the rejection of executory contracts pursuant to the Plan;

              F.   To determine any applications, adversary proceedings, and
contested and litigation matters pending in the case at the Confirmation Date or
thereafter filed;

           G.   To determine any applications on file for approval of settlement
agreements and entering and enforcing all appropriate orders in connection
therewith;

           H.     To authorize the Liquidating Debtor or Reorganized Debtor to
abandon property of the Estate;

            I.    To modify any provisions of the Plan pursuant to the Rules, the
Code and provisions of the Plan;

                J.      To correct any defect, cure any omission, or reconcile any


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inconsistency in the Plan or the Confirmation Order as may be necessary to carry
out the purposes and intent of the Plan;

            K.     To determine such other matters provided for in the
Confirmation Order as may, from time to time, be authorized under the provisions
of the Code or any applicable law;

            L.     To enforce all orders, judgments, injunctions, and rulings in
connection with this proceeding; and

             M. To enter such orders that may be necessary or appropriate to aid
in confirmation and to facilitate implementation of the Plan.

                            ARTICLE XIII
                PROVISIONS REGARDING DISTRIBUTIONS

        13.1 Contested Claims: Notwithstanding anything in this Plan to the
contrary, neither the Debtors, the Liquidating Debtor, nor the Reorganized Debtor
shall be obligated to make any payments towards any Contested Claim. Further,
neither the Debtors, the Liquidating Debtor, nor the Reorganized Debtor shall be
required to make any payments for an Allowed Claim to any Creditor if the Debtors,
the Liquidating Debtor, or the Reorganized Debtor have filed a motion, objection,
adversary proceeding, state court proceeding or other similar notice against such
Creditor alleging an objection, claim, cause of action, offset or counter- claim, such
that if sustained and not paid by such Creditor would result in a disallowance of such
Allowed Claim in accordance with § 502(d) of the Code, provided, however, that
the Liquidating Debtor or Reorganized Debtor shall escrow a sufficient amount to
pay such Consisted Claim in full, in the event that it is allowed.

       13.2 Delivery of Distributions: Except as otherwise provided in the Plan,
and notwithstanding any authority to the contrary, distributions to Holders of
Allowed Claims and Allowed Interests shall be made by the Liquidating Debtor or
Reorganized Debtor, in order of preference, (a) at the addresses set forth in any
written notices of address changes delivered to the Liquidating Debtor or
Reorganized Debtor after the date of any related Proof of Claim or (b) at the
addresses set forth on the Proofs of Claim filed by such Holders of Claims if the
Liquidating Debtor or Reorganized Debtor have not received a written notice of a
change of address. Except as set forth herein, distributions under the Plan on account
of Allowed Claims shall not be subject to levy, garnishment, attachment, or similar
legal process, so that each Holder of an Allowed Claim shall have and receive the


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benefit of the distributions in the manner set forth in the Plan. Neither the Liquidating
Debtor nor the Reorganized Debtor shall incur any liability whatsoever on account
of any distributions under the Plan except for gross negligence or willful misconduct.

       13.3 Allocation of Payments: All distributions shall be allocated first to
principle until the principle amount of the Claim is paid in full, next to interest if
interest is allowed in relation to the Claim and finally, to fees, costs and expenses if
such are allowed. This section shall not apply to Flagstar.

       13.4 Compliance with Tax Requirements and Allocations: In connection
with the Plan, to the extent applicable, the Liquidating Debtor and Reorganized
Debtor shall be authorized to take all actions necessary or appropriate actions to
comply with all tax withholding and reporting requirements imposed on them by any
Governmental Unit, including liquidating a portion of the distribution to be made
under the Plan to generate sufficient funds to pay applicable withholding taxes,
withholding distributions pending receipt of information necessary to facilitate such
distributions, or establishing any other mechanisms they believe are reasonable and
appropriate. The Liquidating Debtor and Reorganized Debtor reserve the right, in
their sole discretion, to allocate all distributions made under the Plan in compliance
with all applicable wage garnishments, alimony, child support, other spousal awards,
Liens, and encumbrances.

       13.5 Undeliverable Distributions and Non-Negotiated Checks: If any
distribution to a Holder of a Claim is returned as undeliverable, no further
distributions to such Holder of such Claim shall be made unless and until the
Liquidating Debtor and Reorganized Debtor are notified of the then-current address
of such Holder of the Claim, after which time future distributions shall be made to
such Holder of the Claim without interest at such address. If checks issued by the
Liquidating Debtor and Reorganized Debtor on account of Claims are not negotiated
within ninety (90) days after the issuance of such check, the check shall be null and
void. Amounts in respect to undeliverable distributions and non-negotiated checks
shall be held by the Liquidating Debtor or Reorganized Debtor until (i) such
distributions are claimed or (ii) ninety (90) days after the check is returned or voided
due to non-negotiation, after which date all such undistributed and non-negotiated
amounts shall revert to the Liquidating Debtor or Reorganized Debtor free of any
restrictions thereon and the Claim of any Holder or successor to such Holder with
respect to such distribution shall be discharged and forever barred, notwithstanding
federal or state escheat laws to the contrary. Nothing contained herein shall require
the Liquidating Debtor or Reorganized Debtor to attempt to locate any Holder of an
Allowed Claim. This provision does not apply to the Office of the United States


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Trustee.

       13.6 Fractional Payments: Notwithstanding any other provision of the Plan
to the contrary, payments of fractions of dollars shall not be required. Payment of
fractions of dollars that would otherwise be distributed under the Plan shall be
rounded to the lower whole number of dollars. This provision does not apply to the
Office of the United States Trustee.

       13.7 Interest and Penalties on Claim: Unless otherwise specifically
provide for in the Plan, the Confirmation Order or required by applicable bankruptcy
law, post-petition interest and penalties shall not accrue or be paid on any Claims,
and no Holder of a Claim shall be entitled to interest and penalties accruing on or
after the Petition Date through the date that such Claim is satisfied in accordance
with the terms of this Plan.

      13.8 Prepayment: Any distribution required under this Plan may be prepaid,
in whole or in part, in the sole and absolute discretion, of the Liquidating Debtor and
Reorganized Debtor.

                              ARTICLE XIV
                       MISCELLANEOUS PROVISIONS

     14.1 Authorization: The Debtors, Liquidating Debtor, and Reorganized
Debtor, and all parties-in- interest, including without limitation any Creditor, shall
be required to execute any document reasonably requested by the other to
memorialize and effectuate the terms and conditions of this Plan.

      14.2 Notices: Any notice required or permitted under this Plan shall be made
in writing and served either by (i) certified mail, return receipt requested, postage
prepaid; or (ii) overnight delivery service, freight prepaid, addressed to the
following:

      If to Offshore or the Liquidating Debtor:

                                        Offshore Spars Co.
                                        Attn.: Eric R. Graczyk
                                        50200 E. Russell Schmidt Blvd.
                                        New Baltimore, MI 48051

      If to Graczyk or the Reorganized Debtor:


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                                       Eric R. Graczyk
                                       4170 Nearbrook Road
                                       Bloomfield Hills, MI 48302

      In all instances, with a copy to counsel:

                                       Stevenson & Bullock, P.L.C.
                                       Attn.: Elliot G. Crowder
                                       26100 American Drive, Suite 500
                                       Southfield, MI 48034

       14.3 Change of Address: In the event the holder of any Claim shall transfer
such Claim after the Confirmation Date, it shall immediately advise the Liquidating
Debtor or Reorganized Debtor in writing of such transfer and the Liquidating Debtor
or Reorganized Debtor shall be entitled to assume that no transfer of any Claim has
been made by any holder unless and until it shall have received written notice of the
transfer. Each transferee of any claim shall take such claim subject to the provisions
of the Plan and any requests made, waiver or consent given or other action taken
hereunder and, except as otherwise expressly provided in the notice, the Liquidating
Debtor and Reorganized Debtor shall be entitled to assume conclusively that the
transferee named in such notice shall thereafter be vested with all right and powers
of the transferor under the Plan.

       14.4 Post-Confirmation Professional Fees: Notwithstanding any provision
of the Bankruptcy Code or the Bankruptcy Rules to the contrary, no professional
shall be required to file a 2016(b) statement for any fees or expenses received after
the Confirmation Date. Any services performed or expenses incurred by any
professional on behalf of the Debtors with respect to these Cases after the
Confirmation Date shall not be subject to the prior review and approval of the
Bankruptcy Court. All Professional Fees and expenses shall be billed directly to the
Debtors, Liquidating Debtor, or Reorganized Debtor as the case may be.

       14.5 Final Decree: As soon as possible after distributions the Liquidating
Debtor and Reorganized Debtor shall file with the Bankruptcy Court final reports
and applications for final decree, and the time for filing such report and application
shall be extended to such time. However, this case will remain open until after (a)
the Subchapter V Trustee files her final report; and (b) the Court enters an order
terminating the Subchapter V Trustee’s appointment.



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       14.6 Transfer Taxes: The making and delivery of any instruments of
transfer to or from the Debtors pursuant to this Plan, including deeds and articles of
transfer shall not be taxed under any law imposing a stamp, as provided in § 1146(c)
of the Code.

      14.7 Avoidance Actions: The Reorganized Debtor shall have the right to
commence, continue, amend or compromise all Avoidance Actions, whether or not
those causes of action were the subject of a suit as of the Confirmation Date.

      14.8 Binding Effect: The Plan and the Confirmation Order will be binding
upon, and will inure to the benefit of the Debtors, the Liquidating Debtor, the
Reorganized Debtor, and the holders of all Claims and Interests and their respective
successors and assignees.

       14.9 Severability of Plan Provisions: After the Effective Date, should any
term or provision of this Plan be held by the Bankruptcy Court to be invalid, void,
or unenforceable, the remainder of the terms and provisions of the Plan will remain
in full force and effect and will in no way be affected, impaired, or invalidated by
such holding, alteration, or interpretation.

       14.10 Notice of Substantial Consummation: The Liquidating Debtor and
Reorganized Debtor shall timely file a Notice of Substantial Consummation in
accordance with 11 U.S.C. § 1183(c)(2). To confirm the Notice of Substantial
Consummation, the Liquidating Debtor and Reorganized Debtor shall serve the
Subchapter V Trustee with copies of all checks distributed in the initial distribution
to Classes requested by the Subchapter V Trustee. The Subchapter V Trustee will
not file her final report until after receipt and confirmation of the initial distribution
checks for any Classes she requests, to her satisfaction.


                             [Signatures on following page]




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                                       Respectfully submitted,
                                       STEVENSON & BULLOCK, P.L.C.

                                       By: /s/ Elliot G. Crowder
                                       Elliot G. Crowder (P76137)
                                       Ernest M. Hassan, III (P67815)
                                       Counsel for Debtors
                                       26100 American Drive, Suite 500
                                       Southfield, MI 48034
                                       Phone: (248) 354-7906
                                       Facsimile: (248) 354-7907
                                       Email: ecrowder@sbplclaw.com
                                       Email: ehassan@sbplclaw.com

                                       OFFSHORE SPARS CO.

                                       By: /s/ Eric R. Graczyk
                                       Eric R. Graczyk
                                       Its: Responsible Person

                                       By: /s/ Eric R. Graczyk
                                       Eric R. Graczyk

Dated: November 17, 2023




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                                  EXHIBIT A1




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                                                                                         Offshore Spars Co. (Case No. 23-44657)
                                                                                             Exhibit A1 - Liquidation Analysis




                                                                                                      Assets
                            Description of Asset                                     Liquidation Value                                                 Comments
           Cash on hand                                                              $          200.00 ** All values disclosed as of Petition Date
           5/3 Business Checking Acct.                                               $       13,114.55
           Chase Business Checking Acct.                                             $       43,030.06
           Paypal Accounts (2)                                                       $             -
           Security Deposit held with Chesterfield                                   $       10,000.00
           Accounts Receivable                                                       $       26,841.28
           Inventory and projects in various stages                                  $      141,000.00
           Misc. Office furniture                                                    $        2,000.00
           Picnic tables (2)                                                         $          100.00
           TVs (6), Monitors (10), Laptops (8), etc.                                 $        4,000.00
           Customer sailboat mast trailer (40')                                      $        1,500.00
           Customer sailboat mast trailer (20')                                      $          500.00
           2022 Ford Explorer                                                        $       61,000.00
           Storage Containers (6)                                                    $       11,000.00
           Bridgeport mills (2), Lathes (2), etc.                                    $       11,000.00
           Autoclave Machines (2)                                                    $      125,000.00
           Paint booths (2)                                                          $      150,000.00
           Overhead cranes                                                           $        4,000.00
           Air filtration System, Welding Equpment, etc.                                     $6,000.00
           Term life insurance                                                       $             -
           Pending action against Steven L. King                                             Unknown
           Possible cause of action against Varnum, LLP                                      Unknown
           www.offshorespars.com                                                             Unknown

                                                         Total                       $       610,285.89

                                                                                                       Liabilities
           Name of Claimant                                       Amount of Claim                         Comments
Secured
           Pathward, N.A.                                         $ (1,953,163.84)                        Amount owed as reflected on Debtor's Schedule D
           Ford Motor Credit Company, LLC                         $    (61,000.00)                        Amount owed as reflected on Debtor's Schedule D

Administrative
            Stevenson & Bullock, P.L.C. (est.)                    $   (100,000.00)
            Subchapter V Trustee (est.)                           $    (12,000.00)
            Mueller & Company, P.C. (est.)                        $     (7,500.00)
            Ch. 7 Trustee fees (est.)                             $    (33,764.25)
            Ch. 7 Trustee professional fees (est.)                $    (25,000.00)
Priority Claims
            Internal Revenue Service                              $   (126,591.24)                        Amount owed as reflected on Proof of Claim No. 5
            State of CA Franchise Tax Board                       $     (1,625.00)
Distribution of Proceeds of Assets in Event of Liquidation
Gross proceeds available                                          $    610,285.89
Less Allowed Secured Claims                                       $ (2,014,163.84)
Less Administrative Expenses (total)                              $ (178,264.25)
Less Priority Claims                                              $ (126,591.24)
Less Unsecured Claims                                             $ (2,363,511.28)                        Amounts owed as reflected on Debtor's Schedule F
                                                         Total    $ (4,072,244.72)

                                                                                                     Net Proceeds

Proceeds available to prepetition unsecured creditors in Ch. 7                                             $                                                                      -
Pro Rata Distribution available to unsecured creditors in Ch. 7                                           0%

Proceeds available to prepetition unsecured creditors under the Plan                                       $                                                                      -
Pro Rata Distribution available to unsecured creditors under the Plan                                     0%




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                                  EXHIBIT A2




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                                                                       Eric G. Graczyk (Case No. 23-44658)
                                                                         Exhibit A2 - Liquidation Analysis



                                                                              Assets
                               Description of Asset                    Liquidation Value Exemption Value                       Total Value
            4170 Nearbrook Rd., Bloomfield Hills, MI 48302                  $857,000.00 $              -                                        $857,000.00
            2018 Ford Edge                                             $      18,000.00 $        18,000.00                                            $0.00
            2012 Mercedes E350                                         $      12,500.00 $              -                                         $12,500.00
            Misc. household goods and furnishings                      $       3,500.00 $         3,500.00                                            $0.00
            TVs (3)                                                    $         500.00 $           500.00                                            $0.00
            Misc. baseball cards                                       $         200.00 $           200.00                                            $0.00
            Misc. sports and hobby equipment                           $         400.00 $           400.00                                            $0.00
            Firearms                                                   $         300.00 $           300.00                                            $0.00
            Misc. clothing                                             $         350.00 $           350.00                                            $0.00
            Watch (1)                                                  $         300.00 $           300.00                                            $0.00
            Cat                                                        $          10.00 $              -                                             $10.00
            Checking acct. at JPMorgan Chase                           $          93.94 $            93.94                                            $0.00
            Checking acct. at Flagstar Bank                            $          10.90 $            10.90                                            $0.00
            Checking acct. at US bank                                  $       1,678.10 $         1,270.16                                         $407.94
            Savings acct. at Goldman Sachs                             $          16.19 $              -                                             $16.19
            Graczyk Holdings, LLC                                             Unknown $                -                                              $0.00
            IRA with Fidelity Investments                              $      13,700.77 $        13,700.77                                            $0.00
            401(k) with Fidelity Investments                           $     335,913.06 $      335,913.06                                             $0.00
            IRA with LPL Financial                                            $7,000.00 $         7,000.00                                            $0.00
            The Eric G. Graczyk Revocable Trust                               Unknown $                -                                              $0.00
            New York Life: Whole Life Policy                           $       1,600.00 $         1,600.00                                            $0.00
            Claims against Varnum LLP and Steven King                         Unknown $                -                                              $0.00
            Misc. tools                                                $         500.00 $           500.00                                            $0.00

                                                                                            Total                                               $869,934.13

                                                                           Liabilities
            Name of Claimant                                           Amount of Claim                       Comments
Secured
            Pathward, N.A.                                              $ 1,953,163.84                       Amount owed as reflected on Debtor's Schedule D
            Flagstar Bank                                               $    68,167.33                       Amount owed as reflected on Debtor's Schedule D
            United Wholesale Mortgage                                   $   391,955.23                       Amount owed as reflected on Debtor's Schedule D

Administrative
             Stevenson & Bullock, P.L.C. (est.)                         $    (100,000.00)
             Subchapter V Trustee (est.)                                $     (12,000.00)
             Mueller & Company, P.C.                                    $      (7,500.00)
             Ch. 7 Trustee fees (est.)                                  $     (10,957.50)
             Ch. 7 Trustee professional fees (est.)                     $     (15,000.00)
Priority Claims
             Internal Revenue Service                                   $      (2,300.00)

Distribution of Proceeds of Assets in Event of Liquidation
Gross proceeds available                                                    $869,934.13
Less Allowed Secured Claims                                             $ (2,413,286.40)
Less Administrative Expenses (total)                                    $ (145,457.50)
Less Priority Claims                                                    $     (2,300.00)
Less Unsecured Claims                                                   $ (1,488,348.54)                     Amounts owed as reflected on Debtor's Schedule F
                                                                  Total $ (3,179,458.31)

                                                                            Net Proceeds

Proceeds available to prepetition unsecured creditors in Ch. 7                                                $                                         -
Pro Rata Distribution available to unsecured creditors in Ch. 7                                              0%

Proceeds available to prepetition unsecured creditors under the Plan                                          $                                         -
Pro Rata Distribution available to unsecured creditors under the Plan                                        0%




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                                   EXHIBIT B




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                                                                           Exhibit B

                                                                              2024         2025         2026
Income


Employment                                                                       150,000     150,000      150,000
Health Insurance Reimbursement                                                     2,400       2,400        2,400
Total Income                                                                    152,400     152,400      152,400


Expense
Tax, Medicure and Social Security Deductions                                     47,280      47,280       47,280
Health Insurance                                                                  5,244       5,506        5,781
Doctors Co Pays / Medications / Personal Care                                     3,300       3,465        3,638
Home Mortgage (Primary)                                                          21,539      21,539       21,539
Home Mortgage (HELOC)                                                            11,148      11,148       11,148
Simple IRA Contributions                                                          3,500       3,500        3,500
Real Estate Taxes                                                                12,120      12,362       12,610
HOA Dues                                                                             300          325          350
Utilities (Electric, Natural Gas, Water&Sewer, Garbage, Internet, Cable)          9,772      10,261       10,774
Home Maintenance (Lawn, Snow and Repairs)                                         2,700       2,900        3,045
Groceries / Housekeeping Supplies                                                 5,400       5,670        5,954
Entertainment                                                                     1,500       1,700        1,900
Transportation                                                                    6,240       6,427        6,620
Life Insurance Premium                                                            2,270       2,270        2,270
Clothing, Laundry and Dry Cleaning                                                2,500       2,515        2,530
Home Insurance, Vehicle Insurance and Umbrella                                    6,298       6,613        6,944
Pet Supplies / Vet                                                                1,300       1,350        1,400
Total Operating Costs                                                           142,411     144,831      147,282
Net Annual Income                                                                 9,989       7,569        5,118


Class VIII                                                                        5,000       5,000        5,000




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                                   EXHIBIT C




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                     UNITED STATES BANKRUPTCY COURT
                      EASTERN DISTRICT OF MICHIGAN
                       SOUTHERN DIVISION - DETROIT

IN THE MATTER OF:
 Offshore Spars Co., et al.1                   Case No. 23-44657
                                               Judge Thomas J. Tucker
                       Debtors.                Chapter 11
                                               Jointly Administered

         BALLOT FOR ACCEPTANCE OR REJECTION OF THE 1ST
       AMENDED COMBINED PLAN OF LIQUIDATION OF OFFSHORE
        SPARS CO. AND REORGANIZATION OF ERIC R. GRACZYK

       The Debtors have filed the 1st Amended Combined Plan of Liquidation of
Offshore Spars Co. and Reorganization of Eric G. Graczyk (the “Plan”) referred to
in this Ballot. The Plan provides information to assist you in deciding how to vote
your ballot. If you do not have a copy of the Plan, you may obtain a copy from
Debtor’s counsel Elliot G. Crowder, Stevenson & Bullock, P.L.C., 26100 American
Drive, Suite 500, Southfield, MI 48034 and ecrowder@sbplclaw.com.

       You should review the Plan before you vote. You may wish to seek legal
advice concerning the Plan and your classification and treatment under the Plan. If
you hold claims or equity interest in more than one class, identify each class, amount
of claim and acceptance or rejection separately. If you require additional ballots, you
may obtain them from Debtor’s counsel.

      If your ballot is not received by Elliot Crowder, Stevenson & Bullock, P.L.C.,
26100 American Drive, Suite 500, Southfield, MI 48034 on or before December 18,
2023 and unless such deadline is not extended, your vote will not count as either an
acceptance or rejection of the Plan.

     If the Plan is confirmed by the Bankruptcy Court it will be binding on you
whether or not you vote.




1
      The Debtors in these jointly administered cases are Offshore Spars Co. (Case
No. 23-44657) and Eric G. Graczyk (Case No. 23-44658).


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     To have your vote count, you must complete and return this ballot to:

                                Elliot G. Crowder
                           Stevenson & Bullock P.L.C.
                         26100 American Drive, Suite 500
                           Southfield, Michigan 48034

NAME OF CREDITOR

TYPE OF CLAIM (Check one)

 CLASS I
 CLASS V
 CLASS VI
 CLASS VII
 CLASS VIII

AMOUNT OF CLAIM                    $

MARK ONE ONLY:                  Accepts Plan

                               Rejects Plan

SIGNATURE:

NAME:

TITLE:

ADDRESS:



DATE:




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